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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11   IN RE: PACKAGED SEAFOOD                       Case No.: 15md2670 DMS(MSB)
12   PRODUCTS ANTITRUST LITIGATION
                                                   ORDER (1) GRANTING IN PART
13   This Document Relates To:                     AND DENYING IN PART
     All Actions                                   DEFENDANTS’ MOTION TO
14
                                                   EXCLUDE FACT-FINDING
15                                                 TESTIMONY AND LEGAL
                                                   CONCLUSIONS OF PLAINTIFFS’
16
                                                   ECONOMISTS, AND (2) DENYING
17                                                 PLAINTIFFS’ MOTION TO
                                                   EXCLUDE CERTAIN TESTIMONY
18
                                                   OF DEFENDANTS’ PROPOSED
19                                                 EXPERTS
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21
22         This litigation comes before the Court on two of the parties’ Daubert motions.
23   Specifically, (1) Defendants’ Motion to Exclude Fact-Finding Testimony and Legal
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 1   Conclusions of Plaintiffs’ Economists (ECF No. 1979), and (2) Plaintiffs’ Motion to
 2   Exclude Certain Testimony of Defendants’ Proposed Experts (ECF No. 1969).1
 3   I.    Defendants’ Motion to Exclude Fact-Finding Testimony and Legal Conclusions
           of Plaintiffs’ Economists
 4
 5         There are seven experts at issue in this motion: (1) Winn-Dixie and Bi-Lo’s
 6   economist Dr. Gareth Macartney, (2) AWG and AFMC’s economist Dr. Colin Carter, (3)
 7   Affiliated Foods Plaintiffs’ economist Dr. Keith Leffler, (4) DAPs’ economist Dr. Michael
 8   Baye, (5) EPPs’ economist Dr. David Sunding, (6) CFPs’ economist Dr. Michael Williams,
 9   and (7) DPPs’ economist Dr. Russell Mangum.
10         Defendants do not challenge these experts’ qualifications, nor do they challenge their
11   methodologies. Instead, Defendants seek to exclude certain portions of the experts’
12   opinions on three grounds: (1) They are offering improper narratives and interpretations
13   of the facts, (2) they are offering testimony about the states of mind of Defendants’ and
14   their employees, and (3) they are offering legal conclusions.2
15         In response to Defendants’ first argument, Plaintiffs respond that their experts are
16   simply setting forth the facts and data supporting their opinions, which is required by the
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20
21   1 There are two additional Daubert/Daubert-type motions pending: The Lion Entities’
     Motion to Exclude Testimony of Adoria Lim and Marianne DeMario, (ECF No. 3037),
22   and Dongwon’s Motion to Strike Adoria Lim’s Second Expert Report and Portions of
23   Marianne DeMario’s Expert Reports (ECF No. 3066). The Court will address those
     motions in a separate order.
24   2 Defendants also move to exclude the same portions of Plaintiffs’ experts’ reports under
25   Federal Rule of Evidence 403. Specifically, they argue these portions of the report “will
     mislead the jury and cause irreparable prejudice to Defendants.” In light of the discussion
26   below, the Court rejects Defendants’ 403 argument. With the exception of those limited
27   paragraphs identified for exclusion below, the experts’ opinions are proper and otherwise
     admissible. That they are unfavorable to Defendants does not make them misleading or
28   more prejudicial than probative, let alone substantially so.
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 1   Federal Rules of Civil Procedure and the Federal Rules of Evidence. Plaintiffs also dispute
 2   that their experts are offering any legal conclusions or improper state of mind testimony.3
 3         A.     Factual Narratives
 4         “It is well settled that an expert is free to offer testimony to provide a background
 5   for the case.” U.S. Info. Systems, Inc. v. Int’l Brotherhood of Electrical Workers Local
 6   Union No. 3, 313 F.Supp.2d 213, 237 (S.D.N.Y. 2004) (citations omitted). See also Rapp
 7   v. NaphCare Inc., No. 21-cv-5800-DGE, 2023 WL 5844724, at *8 (W.D. Wash. Sept. 11,
 8   2023) (stating “expert testimony necessarily involves some discussion of factual
 9   evidence[.]”) However, “an expert cannot be presented to the jury solely for the purpose
10   of constructing a factual narrative based upon record evidence.” Highland Capital Mgmt.,
11   L.P. v. Schneider, 379 F.Supp.2d 461, 469 (S.D.N.Y. 2005) (citation omitted). See also
12   Aya Healthcare Services, Inc. v. AMN Healthcare, Inc., 613 F.Supp.3d 1308, 1322 (S.D.
13   Cal. 2020) (same); In re Bard IVC Filters Prods. Liab. Litig., No. MDL 15-02641-PHX
14   DGC, 2018 WL 11446831, at *4 (D. Ariz. Jan. 22, 2018) (stating experts are not permitted
15   to “engage in lengthy factual narratives not necessary to the jury’s understanding of their
16   opinions.”); In re Fosamax Products Liab. Litig., 645 F.Supp.2d 164, 192 (S.D.N.Y. 2009)
17   (quoting In re Prempro Prods. Liab. Litig., 554 F.Supp.2d 871, 880, 886 (E.D. Ark. 2008))
18   (stating experts are not “permitted to merely read, selectively quote from, or ‘regurgitate’
19   the evidence.”) Nor are experts allowed to “’gratuitously comment on factual evidence or
20   present what are essentially lawyer arguments with regard to factual testimony.’” Rapp,
21   2023 WL 5844724, at *8 (quoting In re Bard IVC Filters Prods. Liab. Litig., No. MDL 15-
22   02641-PHX DGC, 2017 WL 11696720, at *3 (D. Ariz. Dec. 22, 2017)). This kind of
23   narrative and commentary on the evidence is not admissible because it is not “’helpful to
24
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     3
       Plaintiffs also argue that in the antitrust context, experts may opine on whether a
26   defendant’s conduct is consistent with collusion, and that the factual basis of an expert’s
27   testimony goes to credibility rather than admissibility. These arguments are misplaced as
     Defendants do not dispute the former argument, and are not challenging the factual bases
28   for Plaintiffs’ experts’ opinions.
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 1   the finder of fact.’” Sitts v. Dairy Farmers of Am., Inc., No. 2:16-cv-00287, 2020 WL
 2   3467993, at *8 (D. Vt. June 24, 2020) (quoting SourceOne Dental, Inc. v. Patterson Cos.
 3   Inc., No. 15-cv-5441 (BMC), 2018 WL 2172667, at *7 (E.D.N.Y. May 10, 2018)).
 4   Furthermore, “[a]cting simply as a narrator of the facts does not convey opinions based on
 5   an expert’s knowledge and expertise; nor is such a narration traceable to a reliable
 6   methodology.” S.E.C. v. Tourre, 950 F.Supp.2d 666, 675 (S.D.N.Y. 2013). For these
 7   reasons, “[m]ere narration thus fails to fulfill Daubert’s most basic requirements.” Id.4
 8         To be admissible under Daubert, an expert’s “commentary on any documents and
 9   exhibits in evidence” should “be limited to explaining the … context in which [those
10   documents and evidence] were created, defining any complex or specialized terminology,
11   or drawing inferences that would not be apparent without the benefit of experience or
12   specialized knowledge.” In re Fosamax, 645 F.Supp.2d at 192. “Where an expert uses
13   record evidence ‘to describe the setting in which the parties were operating’ and ‘applies
14   economic principles to determine whether the situation described was one that tended to
15   show economic indicators of’ anticompetitive behavior, his or her opinions are
16   admissible.”   Sitts, 2020 WL 3467993, at *8 (quoting U.S. Info. Sys., Inc. v. Int’l
17   Brotherhood of Elec. Workers Local Union Number 3, 313 F.Supp.2d 213, 237 (S.D.N.Y.
18   2004)).
19         Here, despite Defendants’ protestations, none of Plaintiffs’ experts is presenting a
20   pure narrative of the facts and evidence untethered from his opinions. Starting with Dr.
21   Macartney, he sets out a lengthy description of the facts in his opening report, but he does
22   so to support his opinion that Plaintiffs’ allegations are consistent with Defendants’
23   participation “in a price-fixing cartel that would have successfully elevated prices to
24   anticompetitive levels.” (Decl. of Corey Attaway in Supp. of Mot. (“Attaway Decl.”), Ex.
25
26
27   4 “In addition, narration of facts of the case may easily invade the province of the jury,
     providing a separate basis for exclusion.” Id. (citing In re Rezulin Prods. Liab. Litig., 309
28   F.Supp. 2d 531, 551 (S.D.N.Y. 2004)).
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 1   2 ¶ 83.) Dr. Macartney also engages with the facts in his rebuttal report, but in a way that
 2   helps the jury understand his critiques of Defendants’ experts’ opinions. See In re Payment
 3   Card Interchange Fee and Merchant Discount Antitrust, 638 F.Supp.3d 227, 311
 4   (E.D.N.Y. 2022) (quoting Highland Capital, 379 F.Supp.2d at 469) (denying motion to
 5   exclude expert’s testimony because expert was “not ‘solely … constructing a factual
 6   narrative,’ but rather using the evidence in the record to critique Plaintiffs’ experts’
 7   opinions.”)
 8         The same may be said of:
 9         Dr. Carter. (See, e.g., Attaway Decl., Ex. 3 ¶¶ 82-266) (setting out lengthy
10   description of facts in opening report, but doing so to support opinion that “Defendants’
11   conduct is consistent with an anticompetitive conspiracy to fix, raise, and maintain the
12   price of packaged tuna products[.]”); (Attaway Decl., Ex. 14 ¶¶ 135-16, 142) (reciting in
13   rebuttal report facts necessary to support critiques of Defendants’ experts’ opinions, and to
14   shore up his own opinions in response to Defendants’ experts’ attacks).
15         Dr. Leffler. (See, e.g., Attaway Decl., Ex. 4 ¶¶ 44-48, 54-62) (explaining why certain
16   aspects of tuna industry support Plaintiffs’ allegations that Defendants were engaged in a
17   price fixing conspiracy).5
18         Dr. Baye. (See, e.g., Attaway Decl., Ex. 5 ¶¶ 16-17, 43-44, 149) (stating his review
19   of documents and testimony indicates Defendants engaged in activities consistent with
20   collusion); (Attaway Decl., Ex. 17 ¶ 39) (discussing facts to rebut opinion of Defendants’
21   expert).
22         Dr. Sunding. (See, e.g., Attaway Decl., Ex. 18 ¶ 65) (setting out facts “for the
23   econometric analysis that follows”); (Attaway Decl., Ex. 7 ¶¶ 15-20) (setting out facts
24   supporting opinion that Defendants had opportunity to come to price fixing agreements);
25   (Attaway Decl., Ex. 19 ¶ 27) (setting out facts to rebut Defendants’ experts’ opinions).
26
27
     5 Defendants also object to Paragraph 7 of Dr. Leffler’s rebuttal report, but that single
28   paragraph does not include a factual narrative. (See Attaway Decl., Ex. 16 ¶ 7.)
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 1         Dr. Mangum. (See, e.g., Attaway Decl., Ex. 6 ¶¶ 83-87) (setting out evidence of
 2   successful collusion); (Attaway Decl., Ex. 23 ¶¶ 110, 114) (setting out facts to rebut
 3   Defendants’ experts’ opinions).6
 4         Because none of Plaintiffs’ experts engages in a lengthy narrative untethered to his
 5   opinions, the Court denies Defendants’ motion to exclude based on this argument.
 6         B.     State of Mind
 7         Defendants’ second argument is that certain portions of Plaintiffs’ experts’ reports
 8   should be excluded because they offer improper opinions on the states of mind of
 9   Defendants and their employees. Plaintiffs do not appear to dispute that expert opinions
10   on a party’s state of mind are inadmissible,7 but they do dispute that any of their experts
11   offer this kind of testimony.
12         Dr. Macartney. After reviewing the relevant paragraphs from Dr. Macartney’s
13   reports, the Court finds the following paragraphs of Dr. Macartney’s opening report offer
14   state of mind testimony, and should be excluded: Paragraph 14 (“certain individuals tried
15   to conceal their conduct by encouraging others to delete emails relating to price
16   increases.”); 81 (“Defendants knew their behavior was anticompetitive, because they made
17   efforts to conceal it and disguise their communications.”); and 142 (stating Scott Cameron
18
19
20   6 Defendants also object to three paragraphs in Dr. Williams’s opening report on the
21   ground they “impermissibly interpret fact evidence”. (See Mem. of P. & A. in Supp. of
     Mot. at 13 n.13; Attaway Decl., Ex. 8 ¶¶ 24, 55, 66.) But interpreting fact evidence is
22   precisely what experts are called on to do. See Crow Tribe of Indians v. Racicot, 87 F.3d
23   1039, 1045 (9th Cir. 1996) (stating experts interpret and analyze factual evidence). To the
     extent Defendants disagree with Dr. Williams’s interpretation of the evidence, that is a
24   matter for cross-examination. In re Disposable Contact Lens Antitrust, 329 F.R.D. 336,
25   373 (M.D. Fla. 2018). It is not the Court’s role to resolve a dispute about the interpretation
     of evidence “through exclusion of one of the expert’s opinions.” In re Digital Music
26   Antitrust Litig., 321 F.R.D. 64, 80 (S.D.N.Y. 2017).
27   7 If there was disagreement on this point, the case law supports Defendants’ argument. See
     Highland Capital, 379 F.Supp.2d at 469 (stating expert’s “speculation regarding the state
28   of mind and motivations of certain parties” is inadmissible).
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 1   and Chuck Handford were “trad[ing] barbs,” and Ken Worsham and Mike White’s notes
 2   were “sarcastic”, and that “Mr. Chan felt the need to reassure and appease Mr. Lischewski
 3   in person.”) The following paragraphs from Dr. Macartney’s rebuttal report also offer state
 4   of mind testimony, and should be excluded: Paragraph 130 (“Executives from [COSI and
 5   Bumble Bee] would have been aware (or been made aware) of this potential for scrutiny.”),
 6   and 147 (stating StarKist never intended to lower the price of its reduced-size cans). As to
 7   the remaining paragraphs, the motion is denied.
 8         Dr. Carter. After reviewing the relevant paragraphs from Dr. Carter’s reports, the
 9   Court finds the following paragraphs from Dr. Carter’s opening report offer state of mind
10   testimony, and should be excluded: Paragraph 120 (stating “the three tuna major brans
11   knew that the only way to prevent giving one firm a competitive advantage was to move
12   together.”) and 178 (“Dongwon had knowledge of these collusive price increases.”). As
13   to the remaining paragraphs, the motion is denied.
14         Dr. Mangum. After reviewing the relevant paragraphs from Dr. Mangum’s reports,
15   the Court finds Paragraph 31 of the reply merits report contains state of mind testimony
16   (“Defendants knew they could not simply charge whatever prices they want and force
17   downstream customers to accept them”), and should be excluded. As to the remaining
18   paragraphs, the motion is denied.
19         As to the remaining experts, Drs. Leffler, Baye and Sunding, the Court denies the
20   motion as none of the relevant paragraphs contain state of mind testimony.
21         C.     Legal Conclusions
22         Next, Defendants argue for exclusion of certain paragraphs of Plaintiffs’ experts’
23   reports because they offer legal conclusions. Plaintiffs do not appear to dispute that experts
24   may not offer opinions on ultimate issues, but they disagree that their experts have done
25   so.
26         The Court has reviewed the relevant paragraphs of Plaintiffs’ experts’ reports, and
27   finds that none of those paragraphs contain legal conclusions. According, the Court denies
28   the motion to exclude based on this argument.

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 1         In sum, and as discussed above, there are a few paragraphs in Plaintiffs’ experts’
 2   reports that include state of mind testimony. As to those paragraphs, Defendants’ motion
 3   is granted. As to the remainder of Defendants’ arguments, the motion is denied.
 4   II.   Plaintiffs’ Motion to Exclude Certain Testimony of Defendants’ Proposed
           Experts
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 6         In this motion, Plaintiffs seek to exclude certain testimony from StarKist’s and
 7   Dongwon’s experts Janusz Ordover8, Andres Lerner, and Robert Daines. None of these
 8   experts’ qualifications are in doubt. Rather, Plaintiffs assert that certain of these experts’
 9   opinions are irrelevant, subject to exclusion under Federal Rule of Evidence 403, and
10   unreliable under Daubert.
11         A.     Dr. Ordover
12         Dr. Ordover was tasked with analyzing “the liability claims made by Plaintiffs and
13   their economists.” (Ordover Report at 8.) Specifically, he was:
14         asked to offer opinions regarding: (i) whether Plaintiffs’ economists’ analyses
           can distinguish collusive behavior from the workings of a non-collusive
15
           interdependent oligopoly; (ii) whether Plaintiffs’ economists have provided
16         any economic evidence that StarKist engaged in cartel activity in time periods
           outside those covered in its plea agreement with the Department of Justice;
17
           and (iii) whether the alleged price-fixing cartel is likely to have been
18         successful and whether the performance of the packaged tuna industry is more
           consistent with a successful price-fixing cartel or with competition.
19
20   (Id.) Plaintiffs challenge aspects of Dr. Ordover’s opinions in each of these three areas.9
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23   8 StarKist substituted Dr. George Korenko for Dr. Ordover (now deceased). Dr. Korenko
     adopted Dr. Ordover’s testimony, expert reports, and opinion with no changes. For the
24   sake of consistency with the briefs, the Court refers to these opinions as Dr. Ordover’s
25   rather than Dr. Korenko’s.
     9
       The CFP Plaintiffs filed a joinder in the other Plaintiffs’ motion arguing for exclusion of
26   all paragraphs of Dr. Ordover’s Report that reference Dr. Williams’s Expert Merits Report
27   on the ground that Dr. Ordover did not review the Williams Report or is extremely
     unfamiliar with it. Defendants respond that Dr. Ordover reviewed the Williams Report,
28   and that any discrepancies in the citations to the multiple Williams Reports are simply
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 1         Dr. Ordover discusses the first area at pages 10-23 of his report. To explain their
 2   objections to this area, Plaintiffs cite to Paragraphs 18 and 30 of Dr. Ordover’s report. In
 3   Paragraph 18, Dr. Ordover explains why “[p]arallel pricing in an oligopoly is neither itself
 4   evidence of collusion … nor does it allow an economist to distinguish collusive activity
 5   from non-collusive oligopoly behavior absent additional evidence, such as evidence of
 6   actual agreements among alleged cartel participants.” (Id. ¶ 17.) In Paragraph 30, Dr.
 7   Ordover states that the presence of certain features in an industry “cannot assist a fact-
 8   finder in distinguishing non-collusive interdependent conduct and unlawful collusion
 9   because the same industry structure can be fully consistent with both collusive and non-
10   collusive behaviors.” (Id. ¶ 21.) Plaintiffs object to this testimony on the grounds it is
11   irrelevant, speculative, and lacking in any methodology.
12         Clearly, Dr. Ordover’s opinions on these issues are relevant. And contrary to
13   Plaintiffs’ suggestion, Dr. Ordover is not speculating. Rather, he is explaining why it is
14   difficult to discern whether parallel pricing in an oligopolistic market is evidence of
15   collusion or simply oligopolistic behavior. In offering this explanation, Dr. Ordover relies
16   on “[e]conomic theory”, (id. ¶ 18), which Plaintiffs argue is insufficient. They argue he
17   must use a methodology to support his explanation and opinion, but Plaintiffs are incorrect.
18   In complex cases like this one, “having an expert provide general information can be
19   helpful for the jury.” In re HIV Antitrust Litig., No. 19-cv-02573, 2023 WL 3090619, at
20   *14 (N.D. Cal. Mar. 13, 2023). Indeed, the advisory committee notes to Rule 702 state “it
21   might also be important in some cases for an expert to educate the factfinder about general
22   principles, without ever attempting to apply these principles to the specific facts of the
23   case.” Fed. R. Evid. 702 advisory committee notes. Paragraphs 18 and 30 of Dr. Ordover’s
24   report, and this line of testimony, provide precisely this kind of general information about
25   the nature of oligopolistic markets and the difficulties those markets pose in determining
26
27
     citation errors. The record supports Defendants’ argument here, and thus the Court denies
28   the CFPs’ joinder arguments.
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 1   whether conduct is collusive or non-collusive. Thus, the Court denies the motion to
 2   exclude Dr. Ordover’s testimony on these issues.
 3         Plaintiffs also object to Dr. Ordover’s testimony that “there are several very large
 4   purchasers of packaged tuna that likely could have disciplined any attempt to materially
 5   increase prices above the competitive level.” (Ordover Report ¶ 33.) Dr. Ordover offers
 6   this statement in the context of discussing industry factors that could facilitate collusive
 7   activity, and to rebut Plaintiffs’ experts’ analysis of those factors. Plaintiffs object to this
 8   testimony on the ground it is speculative, but Dr. Ordover is properly offering this
 9   observation in rebuttal. See Perez v. State Farm Mut. Auto. Ins. Co., No. C 06-01962 JW,
10   2011 WL 8601203, at *8 (N.D. Cal. Dec. 7, 2011) (“Rebuttal testimony is proper as long
11   as it addresses the same subject matter that the initial experts address and does not introduce
12   new arguments.”) Accordingly, the Court denies the motion to exclude this testimony.
13         Next, Plaintiffs object to Section IV of Dr. Ordover’s report, which is titled,
14   “Economic Theory and Empirical Evidence is Inconsistent with the Alleged Cartel
15   Successfully Raising Prices.” (Ordover Report at 43-55.) In this section, Dr. Ordover
16   discusses a number of factors that are indicative of a successful price fixing conspiracy.
17   The first is “the ability to monitor cartel members’ pricing to ensure compliance with the
18   collusive agreement.” (Id. ¶ 62.) Dr. Ordover notes that Plaintiffs’ experts “claim that
19   monitoring compliance with the alleged cartel agreements is easy in the packaged tuna
20   industry,” but Dr. Ordover disagrees with that claim. Contrary to Plaintiffs’ experts, Dr.
21   Ordover notes “that almost no purchasers paid list price and that individually-negotiated
22   off-invoice discounting and promotional trade spending is prevalent.” (Id. ¶ 64.) The
23   second factor Dr. Ordover considers is market share, in particular, whether there were any
24   attempts “to stabilize the [price-fixing] agreement by fixing the market shares of their
25   participants.” (Id. ¶ 71.) Dr. Ordover looked to the evidence in this case to conclude “that
26   StarKist’s market share was not stable over the alleged conspiracy period and thus not
27   consistent with StarKist’s participation in a successful cartel.” (Id.) Dr. Ordover also
28   “analyzed StarKist’s variable margins to see if StarKist earned elevated margins during the

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 1   Class Period(s) proposed by DPPs, CFPs, and EPPs.” (Id. ¶ 79.) Based on his review of
 2   the evidence, Dr. Ordover opines “that, even assuming there was a conspiracy that went
 3   beyond the timing of certain list price announcements, such a conspiracy was not
 4   particularly effective.” (Id.) Plaintiffs object to all of this testimony on the ground it is not
 5   based on any methodology, any methodology used is not reliably applied to the facts or is
 6   based on insufficient facts, and it is subject to exclusion under Rule 403.
 7         The Court disagrees with Plaintiffs’ arguments. Dr. Ordover’s analysis and opinions
 8   are offered to rebut Plaintiffs’ experts, which Dr. Ordover is entitled to do. See In re
 9   Cathode Ray Tube (CRT) Antitrust Litig., No. C-07-5944 JST, 2017 WL 10434367, at *3
10   (N.D. Cal. Jan. 23, 2017) (“If Dr. Ordover has criticisms regarding Dr. Rao’s methodology,
11   as opposed to his damages estimates, he can state them to the jury.”) His opinions rely on
12   either the same methodologies employed by Plaintiffs’ experts or Dr. Ordover’s specialized
13   experience, which he reliably applied to the facts of this case, and his opinions are based
14   on sufficient facts. Also, Plaintiffs have failed to show there are any 403 problems with
15   Dr. Ordover’s testimony on these issues. Accordingly, the Court denies the motion to
16   exclude this testimony.
17         In sum, the motion to exclude Dr. Ordover’s testimony is denied.
18         B.     Dr. Andres Lerner
19         Dr. Lerner is StarKist’s economist. He was tasked with providing “an economic
20   assessment of Plaintiffs’ claims that the alleged conduct resulted in higher prices paid by
21   Plaintiffs and the putative classes for packaged tuna products.” (Lerner Report at 5.) In
22   performing this task, Dr. Lerner identified errors in Plaintiffs’ experts’ models and made
23   “corrections” to those models to show Plaintiffs’ overcharge estimates are overstated.
24   Plaintiffs move to exclude Dr. Lerner from offering opinions based on the “corrected”
25   models on the ground those models are unreliable.
26         As stated above with respect to Dr. Ordover, Dr. Lerner is offering rebuttal testimony
27   to Plaintiffs’ experts, which he is entitled to do. See In re CRT, 2017 WL 10434367, at *3.
28   That Dr. Lerner identifies flaws in Plaintiffs’ experts’ models, and suggests those flaws

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 1   result in incorrect overcharge estimates is not a basis for excluding Dr. Lerner’s opinion.
 2   See In re Digital Music, 321 F.R.D. at 82 (“The fact that Professor Ordover identifies
 3   assumptions in Professor Noll's model and points to evidence that those assumptions may
 4   be incorrect are not bases for excluding Professor Ordover's opinion.”) Plaintiffs have also
 5   failed to show that Dr. Lerner’s use of “corrections” to Plaintiffs’ experts’ models renders
 6   his testimony unreliable. Accordingly, the Court denies the motion to exclude Dr. Lerner’s
 7   testimony.
 8          C.    Robert Daines
 9          Professor Robert Daines is StarKist’s expert on corporate governance issues.
10   Plaintiffs assert Professor Daines offers legal conclusions and opinions about Defendants’
11   alter ego liability, which invades the province of the jury. Accordingly, Plaintiffs ask that
12   his testimony be excluded. StarKist disputes that Professor Daines offers any legal
13   conclusions or opinions on ultimate issues. They argue he opines on economic and policy
14   issues regarding corporate governance, and offers rebuttal to the opinions of Plaintiffs’
15   accounting and sociology experts, and that he should not be precluded from offering this
16   testimony.
17          After reviewing Professor Daines’s report, the Court agrees with Defendants that he
18   does not offer any legal conclusions or opinions on ultimate issues in this case. Indeed, the
19   majority of his report offers rebuttal to Plaintiffs’ experts, which he is entitled to do. There
20   is a portion of Professor Daines’s report that discusses corporate structure and governance,
21   in general, to which Plaintiffs’ object, but this testimony would appear to fall within the
22   realm of specialized knowledge and expertise that may be helpful to the jury, and is
23   therefore admissible. Therefore, the Court denies the motion to exclude Professor Daines’s
24   testimony.
25          In sum, Plaintiffs’ motion is denied.
26   III.   Conclusion
27          For the reasons set out above, the Court grants in part and denies in part Defendants’
28   motion to exclude fact-finding testimony and legal conclusions of Plaintiffs’ Economists,

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 1   and denies Plaintiffs’ motion to exclude certain testimony of Defendants’ proposed experts.
 2   Because detailed rulings on arguments like those raised in the present motions is “difficult,
 3   if not impossible, before the trial occurs,” Smilovits v. First Solar, Inc., No. CV12-00555-
 4   PHX-DGC, 2019 WL 6875492, at *12 (D. Ariz. Dec. 17, 2019), the Court’s rulings here
 5   are without prejudice to refinement of the parties’ arguments as the parties prepare for trial.
 6   To the extent the parties file any additional Daubert motions, the Court reminds counsel
 7   that their arguments should be deliberate and focused. Counsel should also keep in mind
 8   that objections to all witness testimony, including experts, may be addressed outside the
 9   presence of the jury and before the witness takes the stand, and can also be addressed during
10   the witness’s testimony.
11         IT IS SO ORDERED.
12   Dated: December 18, 2023
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